Fill in this information to identify the case:

Debtor name        Ark Laboratory, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN

Case number (if known)          23-43403-MLO
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $804,037.84          $162,547.92
          see attached re wage priority                        Check all that apply.
          claims                                                Contingent
                                                                Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               note that pursuant to Court's Order Allowing
                                                               Payment of Prepetition Wages, certain
                                                               prepetition wages have been, or are in the
                                                               process of being, paid.
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $231,210.94
          6600 Highland, LLC                                                  Contingent
          29580 Northwestern Hwy Suite #1000                                  Unliquidated
          Southfield, MI 48034                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $217,535.71
          Abbott Laboratories                                                 Contingent
          PO Box 92679                                                        Unliquidated
          Chicago, IL 60675-2679                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes

Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 4
                                                                                                               44632
              23-43403-mlo                  Doc 55         Filed 04/26/23                 Entered 04/26/23 23:47:16                            Page 1 of 18
Debtor      Ark Laboratory, LLC                                                             Case number (if known)            23-43403-MLO
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $103,738.13
         Agena Bioscience, Inc                                      Contingent
         12100 W. 6th Ave                                           Unliquidated
         Denver, CO 80228                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $120,093.60
         BillionToOne, Inc.                                         Contingent
         PO BOX 8040                                                Unliquidated
         Carol Stream, IL 60197-8040                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $232,263.79
         Coronis Health RCM, LLC                                    Contingent
         PO BOX 790372                                              Unliquidated
         Saint Louis, MO 63179-0372                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,409,050.00
         Gemini Lab Group                                           Contingent
         8470 S. Shore Dr.                                          Unliquidated
         Clarkston, MI 48348                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $121,628.48
         Henry Schein                                               Contingent
         Dept. CH 10241                                             Unliquidated
         Palatine, IL 60055-0241                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $133,744.57
         Immunalysis Corporation Alere San Diego                    Contingent
         P.O. Box 102317                                            Unliquidated
         Pasadena, CA 91189-2317                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $533,000.00
         James Grossi                                               Contingent
         1344 Addington Court                                       Unliquidated
         Lake Orion, MI 48360                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 4



              23-43403-mlo            Doc 55         Filed 04/26/23            Entered 04/26/23 23:47:16                             Page 2 of 18
Debtor      Ark Laboratory, LLC                                                             Case number (if known)            23-43403-MLO
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $142,271.64
         Labcorp                                                    Contingent
         PO BOX 12140                                               Unliquidated
         Burlington, NC 27216-2140                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $174,793.42
         Mclaren Medical Laboratory                                 Contingent
         PO BOX 775452                                              Unliquidated
         Chicago, IL 60677-5452                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $524,903.45
         Medcare MSO                                                Contingent
         1000 Cordova Place                                         Unliquidated
         Santa Fe, NM 87505                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $117,303.10
         Medline Industries, Inc.                                   Contingent
         Box 382075                                                 Unliquidated
         Pittsburgh, PA 15251-8075                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $682,196.96
         MedSpeed, LLC                                              Contingent
         140 Industrial Drive                                       Unliquidated
         Elmhurst, IL 60126                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,615,934.58
         see attached                                               Contingent
                                                                    Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $110,350.00
         StrengthPoint Advisors                                     Contingent
         3540 Tall Oaks Rd.                                         Unliquidated
         Lake Orion, MI 48359                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 4



              23-43403-mlo            Doc 55         Filed 04/26/23            Entered 04/26/23 23:47:16                             Page 3 of 18
Debtor       Ark Laboratory, LLC                                                                    Case number (if known)            23-43403-MLO
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $252,679.09
          The Medical Real Estate Group                                     Contingent
          29580 Northwestern Hwy                                            Unliquidated
          Southfield, MI 48034                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: rent
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $629,000.00
          The Sports Marketing Agency, INC                                  Contingent
          13 N. Washington St.                                              Unliquidated
          Ypsilanti, MI 48197
                                                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: professional services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       804,037.84
5b. Total claims from Part 2                                                                           5b.    +   $                     8,351,697.46

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        9,155,735.30




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4



              23-43403-mlo               Doc 55           Filed 04/26/23               Entered 04/26/23 23:47:16                             Page 4 of 18
                       Schedule E
Name                   Address                                                  Date(s) debt incurred last 4 digits Basis for the claim Total Claim   Priority Amount                                15150
Andrew Su er           6875 Lancadster Lake Ct., Apt 126, Clarkston, MI 48346                   Apr-22 0365         wages and beneﬁts $ 7,538.46                       Unpaid severance
                                                                                                                                                                       Unpaid wages & expense
Angelica Reese         325 N. Washington Ave., Apt A, Batavia, IL 60510                        Nov-22 7135          wages and beneﬁts $ 4,171.35 $            4,171.35 reimbursement
                                                                                                                                                                       Unpaid wages, PTO & expense
Bradley Cieslak        1835 W Motel Road Sycamore, IL 60178                                    Nov-22 5088          wages and beneﬁts $ 50,936.14 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages, PTO & expense
Bre Nagel              9061 Ridge Ct Willow Springs, IL 60480                                  Nov-22 2756          wages and beneﬁts $ 47,620.91 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Carla Galan           3086 Summit Ave, Highland Park, IL 60035                                 Nov-22 2972          wages and beneﬁts $ 1,383.75 $            1,383.75 reimbursement
Christopher Pi enturf 584 Birchcrest Ct., Oakland, MI 48363                                     Apr-22 7970         wages and beneﬁts $ 56,956.72                      Unpaid severance
                                                                                                                                                                       Unpaid wages & expense
David Alcook           6259 Autumn Dr., Hudsonville, MI 49426                   Jan-Feb 2023            9728        wages and beneﬁts $ 5,428.48 $            5,428.48 reimbursement
Don Henderson          9552 Bi en Dr., Brighton, MI 48114                       Aug-Sep 2022            3983        wages and beneﬁts $ 18,961.54                      Unpaid severance
Frederick (Paul) Hodge 29525 Mayfair, Farmington, MI 48331                      Sep-Nov 2022            5766        wages and beneﬁts $ 11,725.00 $          11,725.00 Unpaid severance
                                                                                                                                                                       Unpaid wages & expense
Georgine Cwynar        218 Picadilly Dr SE, Poplar Grove, IL 61065                             Nov-22 6737          wages and beneﬁts $ 7,360.03 $            7,360.03 reimbursement
                                                                                                                                                                       Unpaid wages, PTO & expense
Graham Pocic           229 E Custer St Lemont, IL 60439                                        Nov-22 4904          wages and beneﬁts $ 51,853.09 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Jennifer Zuniga        808 Shuler St., Elgin, IL 60123                                         Nov-22 2248          wages and beneﬁts $        722.75 $         722.75 reimbursement
Jessica Preston        1640 Knight Rd., Ann Arbor, MI 48103                                     Apr-22 7190         wages and beneﬁts $ 51,922.00                      Unpaid severance
                                                                                                                                                                       Unpaid wages, PTO & expense
John Jaros             801 N Eagle Naperville, IL 60563                                        Nov-22 9762          wages and beneﬁts $ 24,413.98 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages, PTO & expense
Karen Wilson           38W509 Stevens Glen Rd Saint Charles, IL 60175-5413                     Nov-22 2350          wages and beneﬁts $ 29,549.04 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Kelly Huetsch          5417 Hollis Ave., Loves Park, IL 61111                                  Nov-22 6425          wages and beneﬁts $ 10,010.56 $          10,010.56 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Kinnari Kansara        671 Heather Ln, #671, Bartle , IL 60103                                 Nov-22 2006          wages and beneﬁts $        993.75 $         993.75 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Leshlee Holder         1540 Dempster St., Apt 209, Mount Prospect, IL 60056                    Nov-22 4539          wages and beneﬁts $ 1,230.00 $            1,230.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Lindsey Rymarz         253 Fitzgerald Cir., Carol Stream, IL 60188                             Nov-22 9920          wages and beneﬁts $ 16,036.43 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Margie Reed            2651 N. 73rd Ave., Elmwood Park, IL 60707                               Nov-22 7897          wages and beneﬁts $        615.00 $         615.00 reimbursement
Mark Beauchamp         6686 Weston Ct., Clarkston, MI 48348                                      Jul-22 0025        wages and beneﬁts $ 16,153.85                      Delayed Salary
                                                                                                                                                                       Unpaid wages & expense
Ma hew Meachum         8276 Winterforest Dr NE, Rockford, MI 49341              Jan-Feb 2023            1521        wages and beneﬁts $ 7,067.40 $            7,067.40 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Nicholas McNeilly      4351 Willesdon Ave., Holt, MI 48842                      Jan-Feb 2023            8325        wages and beneﬁts $ 4,461.44 $            4,461.44 reimbursement
Rachel Brown           24767 Nepavine Dr., Novi, MI 48374                       Jul-Aug 2022            9883        wages and beneﬁts $ 57,692.31                      Unpaid severance
                                                                                                                                                                       Unpaid wages, PTO & expense
Randy Bierman          1749 W Huron St. Chicago, IL 60622                                      Nov-22 9216          wages and beneﬁts $ 47,318.04 $          15,150.00 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Rhoderick Dalangin     365 Emerald Ln, Algonquin, IL 60102                                     Nov-22 4112          wages and beneﬁts $        170.78 $         170.78 reimbursement
Robert Read            169 Saxon Ct., Rochester Hills, MI 48307                 Jul-Sep 2022            2422        wages and beneﬁts $ 7,043.29                       Delayed Salary
                                                                                                                                                                       Unpaid wages & expense
Tiana Avina            945 Atlan c Ave., Apt B, Hoﬀman Estates, IL 60169                       Nov-22 9243          wages and beneﬁts $        843.75 $         843.75 reimbursement
                                                                                                                                                                       Unpaid wages & expense
Vilma Joaquin            3133 N. Menard Ave., Chicago, IL 60634                                Nov-22 6694          wages and beneﬁts $        313.88 $         313.88 reimbursement
Payroll Taxes, Fed, FICA Pay Date 3/31/2023                                                3/31/2023 9335           wages and beneﬁts $ 52,300.67
Payroll Taxes, Fed, FICA Pay Date 3/17/2023                                                3/17/2023 9335           wages and beneﬁts $ 51,932.94
Payroll Taxes, Fed, FICA Pay Date 3/3/2023                                                   3/3/2023 9335          wages and beneﬁts $ 52,074.78
Payroll Taxes, Fed, FICA Pay Date 2/17/2023                                                2/17/2023 9335           wages and beneﬁts $ 54,748.33
Payroll Taxes, Fed, FICA Pay Date 2/3/2023                                                   2/3/2023 9335          wages and beneﬁts $ 52,487.40
TOTAL                                                                                                                                    $ 804,037.84 $ 162,547.92



does not take into account the prepe   on wages that are the subject of the Court's Order authorizing the payment of prepe   on wages



                                              23-43403-mlo                      Doc 55            Filed 04/26/23                    Entered 04/26/23 23:47:16                               Page 5 of 18
                                      Schedule F
Name                                  Address                            Date(s) debt incurred   Total Claim
                                      PO BOX 14103
A-Fordable Plumbing & Mechanical      Lexington KY 40512                 06-07-22 to 10-05-22    $    2,520.00
                                      62510 Collec ons Center Drive
AB Sciex, LLC                         Chicago IL 60693-0625              02-01-23 to 04-01-23    $   48,610.04
                                      3549 Airport Rd
                                      Ste 108
Abell Pest Control                    Waterford MI 48329                 07-01-22 to 11-28-22    $    1,260.00
                                      1620 W. Pierce Ave
Advancing Health Inc.                 Chicago IL 60622                   07-01-22 to 10-01-22    $   90,000.00
                                      79 West Street
                                      Suite 200
Alliance Architecture of Maryland, PC Annapolis MD 21401                 03-01-22 to 04-01-22    $   36,455.53
                                      240 N. Fenway Drive
Allied Media                          Fenton MI 48430                               11/4/2022 $          70.75
                                      305 Church at North Hills Street
Allscripts Healthcare, LLC            Raleigh NC 27609                   06-15-22 to 03-01-23    $    8,434.40
                                      279 S Edith St.
Alpha Cleaners LLC                    Pon ac MI 48342                    04-01-22 to 05-01-22    $    5,744.60
                                      33115 Collec on Center Drive
Amazing Charts                        Chicago IL 60693-0331                          3/7/2023 $       1,060.00
                                      Department 9526
                                      PO Box 30516
American Proﬁciency Ins tute          Lansing MI 48909-8016                         2/16/2023 $       3,733.00
                                      612 Deauville Ln.
Amro Almradi MDPC PLLC                Bloomﬁeld Hills MI 48304           01-18-23 to 03-01-23    $   12,000.00
                                      PO Box 660831
Applied Capital, LLC                  Dallas TX 75266-0831               04-01-23 to 04-03-23    $      582.51
                                      24050 Northwestern Hwy
Applied Imaging                       Southﬁeld MI 48075                 08-01-22 to 04-19-23    $    4,574.45
                                      P.O. Box 880823
Arkstone Medical                      Boca Raton FL 33488                02-01-23 to 04-01-23    $   34,025.00
                                      PO BOX 6392
ASR Health Beneﬁts                    Grand Rapids MI 49516-6392                     6/1/2022 $         266.69



                          23-43403-mlo       Doc 55     Filed 04/26/23   Entered 04/26/23 23:47:16        Page 6 of 18
                                         Schedule F
Name                                     Address                          Date(s) debt incurred   Total Claim
                                         PO BOX 415615
Athenahealth, Inc.                       Boston MA 02241-5615             02-16-23 to 04-13-23    $    5,091.00
                                         3959 Centerpoint Pkwy.
Auburn Hills Medical Proper es, LLC      Pon ac MI 48341                              4/1/2023 $         991.00
                                         3724 Cheryl Dr.
Avairis, Inc.                            Commerce Township MI 48382       12-01-22 to 04-03-23    $   20,132.00
                                         6235 Concord
                                         Suite 135
AVL-Crea ve                              Detroit MI 48211                             6/1/2022 $       4,929.46
                                         PO Box 13275
Axiom Diagnos cs                         Tampa FL 33681-3275              03-01-22 to 08-09-22    $   17,315.50
                                         7529 Baron Drive
BCC Distribu on, Inc.                    Canton MI 48187                             5/10/2022 $       6,470.96
                                         Dept. CH 10164
Beckman Coulter                          Pala ne IL 60055-0164            10-01-22 to 03-01-23    $   20,968.01
                                         7 West Square Lake Road
Benkoﬀ Health Law, PLLC                  Bloomﬁeld Hills MI 48302         04-01-22 to 10-02-22    $    8,482.00
                                         7573 Co onwood Dr
                                         Niagra Falls Ontario L2H 0L3
Be Kimutai                               Canada                           04-09-23 to 04-16-23    $    4,846.40
                                         1000 Alfred Nobel Drive
Bio Rad Laboratories, Inc.               Hercules CA 94547                            1/1/2023 $          46.01
                                         1000 Alfred Nobel Drive
BioPathogenix                            Hercules CA 94547                02-08-23 to 03-14-23    $   87,715.00
                                         PO Box 33608
Blue Care Network                        Detroit MI 48232-5608            03-01-23 to 04-01-23    $   38,671.74
                                         Refund and Recovery
                                         PO Box 94075
Blue Cross and Blue Shield of Illinois   Pala ne IL 60094-4075                        6/1/2022 $         208.35
                                         PO Box 674416
Blue Cross Blue Shield of Michigan       Detroit MI 478267-4416           03-01-23 to 04-01-23    $   82,634.80
                                         PO Box 2023
Brehob CORPORATION                       Indianapolis IN 46206-2023                  3/28/2023 $         960.00



                             23-43403-mlo      Doc 55    Filed 04/26/23   Entered 04/26/23 23:47:16        Page 7 of 18
                                        Schedule F
Name                                    Address                               Date(s) debt incurred   Total Claim
                                        2540 Campbellgate Dr.
Brian Corso                             Waterford MI 48329-3118                            4/4/2023   $       43.07
                                        15985 Canal Rd.
Bultynck & Co. CPA                      Clinton Twp. MI 48038                              4/1/2022   $      379.00
                                        PO Box 70539
Cardinal Health                         Chicago IL 60673-0539                 06-10-22 to 03-23-23    $   21,296.68
                                        7600 B Leesburg Pike
                                        East Building Suite 220
Careviso, Inc.                          Falls Church VA 22043                 01-01-23 to 04-01-23    $   15,500.00
                                        PO BOX 1227
Carolina Coastal Paper & Janitorial Sup Wake Forest NC 27588                  12-22-22 to 01-18-23    $    4,919.57
                                        20 Mill Street
                                        Unit 130
Celltreat Scien ﬁc                      Pepperell MA 01463                    05-06-22 to 07-01-22    $    5,366.14
                                        350 SE Mill St
                                        STE 11
Cerbo, LLC                              Portland OR 97214                                  9/1/2022   $    2,900.00
                                        US BANK CN-OH-L1WH Lockbox 00563
                                        5065 Wooster Road
Cerilliant Corpora on                   Cincinna OH 45226                     01-20-23 to 01-26-23    $    5,330.30
Cintas Corp. (ACH)                      6800 Cintas Blvd, Cincinna , OH 45262 4-07-23 to 04-21-23     $    1,947.30
                                        37709 Schoolcra Road
Clean Air Tes ng, Inc                   Livonia MI 48150                                  3/20/2023   $      729.63
                                        9881 Broken Land Parkway
                                        Suite 200
COLA Inc.                               Columbia MD 21046                                  1/1/2023   $   10,417.00
                                        13927 Collec ons Center Drive
Cole-Parmer                             Chicago IL 60693-0139                              6/6/2022   $      206.28
                                        PO Box 71698
College of American Pathologists        Chicago IL 60694-1698                             2/14/2023   $    1,054.44
                                        P.O. Pox 37601
Comcast                                 Philadelphia PA 19101-0601            02-15-23 to 04-17-23    $    2,472.22
                                        7956 Tyler BLVD
CoreBioLabs                             Mentor OH 44060                       01-01-23 to 01-09-23    $   51,045.00

                          23-43403-mlo       Doc 55     Filed 04/26/23      Entered 04/26/23 23:47:16          Page 8 of 18
                                        Schedule F
Name                                    Address                          Date(s) debt incurred   Total Claim
                                        403 Haddon Ave
Coriell Ins tute, Inc.                  Camden NJ 08103                              3/9/2022 $       2,052.00
                                        PO BOX 952366
Co vi Inc.                              St Louis MO 63195-2366                       2/1/2023 $         100.00
                                        PO BOX 4504
Creden al Check Corpora on              Troy MI 48099-4504               02-01-23 to 04-15-23    $      787.40
                                        490 Wildwood North Cir
                                        Ste 110
Criterion Lab Consul ng, LLC            Birmingham AL 35209                          4/1/2022 $       1,900.00
                                        222 S. Main Street
Daniel Brian Adver sing                 Rochester MI 48307               04-20-22 to 05-01-22    $   22,887.00
                                        8304 Jaclyn Ann Dr.
Darren Cain                             Flushing MI 48433                          12/29/2022 $      13,500.00
                                        P.O. Box 101978
Data Innova ons, LLC                    Atlanta GA 30392-1978                       8/22/2022 $       1,590.00
                                        6650 Highland Rd
Dave's Electric Services, Inc.          Waterford MI 48327                          7/18/2022 $       1,242.50
                                        920 Fi h Avenue
                                        Suite 3300
Davis Wright Tremaine LLP               Sea le WA 98104-1610             01-13-22 to 08-15-22    $   67,970.00
                                        P.O. Box 8224018
De Lage Landen Financial Services, Inc. Philadelphia PA 19182-4018       04-12-23 to 04-14-23    $      354.49
                                        PO BOX 411273
Deﬁni ve Healthcare, LLC                Boston MA 02241-1273                         4/1/2022 $      39,999.00
                                        6213 Skyline Drive
                                        Suite 2100
Dell Marke ng LP c/o Lam, Lyn & PhilipHouston TX 77057                              6/10/2022 $      13,453.56
                                        1831 Aus n Drive
Denny's Hea ng, Cooling & Refrigera oTroy MI 48083                       06-13-22 to 02-10-23    $   10,601.85
                                        17082 Blackfoot Trl
Dianne Longoria                         Howard City MI 49329-9595                    4/4/2023 $          16.40
                                        PO BOX 531002
DoctorsManagement, LLC                  Atlanta GA 30353-1002                       10/1/2022 $       2,070.00



                         23-43403-mlo        Doc 55     Filed 04/26/23   Entered 04/26/23 23:47:16        Page 9 of 18
                                 Schedule F
Name                             Address                            Date(s) debt incurred   Total Claim
                                 9890 Smiths Creek Rd.
Dorene Guarnieri                 Goodells MI 48027-3521                        3/21/2023 $          10.56
                                 PO BOX 92213
Dropoﬀ Inc.                      Las Vegas NV 89193-2213            08-01-22 to 10-26-22    $   28,052.44
                                 PO BOX 740786
DTE Energy                       Cincinna OH 45274-0786             04-04-23 to 05-04-23    $    7,169.92
                                 21151 S. Western Ave
                                 Suite 144
e2o Health Inc.                  Torrance CA 90501                              5/1/2022 $       4,800.00
                                 P.O. Box 847950
eClinicalWorks, LLC              Boston MA 02284-7950               02-01-23 to 04-01-23    $ (14,182.00)
                                 12472 Lake Underhill Rd.
                                 Suite 101
Eden So ware Solu ons, LLC       Orlando FL 32828-7144              01-01-23 to 03-01-23    $    1,900.00
                                 P.O. Box 594
Edge Solu ons                    Richmond MI 48062                              4/1/2023 $       1,216.82
                                 49795 Deer Run Dr.
Elio Bucciarelli                 Shelby Twp. MI 48315-3335                     3/21/2023 $          52.61
                                 200 Riverfront Blvd., 3rd Floor
Ellkay, LLC                      Elmwood Park NJ 07407              06-27-22 to 04-01-23    $   10,120.00
                                 2007 Eastcastle Drive SE
Empirical Biosciences            Grand Rapids MI 49508              07-06-22 to 02-01-23    $   60,813.79
                                 1355 Athlone Dr
Eric Vasseur                     Oxford MI 48371                              11/22/2022 $       2,464.00
                                 PO BOX 44953
Esker Inc                        Madison WI 53744-4953                          4/1/2023 $       1,009.05
                                 28563 Network Place
Evoqua Water Technologies LLC    Chicago IL 60673-1285              11-01-22 to 04-17-23    $   11,473.58
                                 PO BOX 371461
Fed Ex                           Pi sburgh PA 15250-7461            04-01-23 to 04-19-23    $      795.87
                                 PO BOX 173940
Ferrellgas                       Denver CO 80217-3940                          3/27/2022 $         412.50




                        23-43403-mlo   Doc 55      Filed 04/26/23   Entered 04/26/23 23:47:16        Page 10 of 18
                                    Schedule F
Name                                Address                          Date(s) debt incurred   Total Claim
                                    38500 Woodward Ave
                                    Suite 350
Fink Bressack PLLC                  Bloomﬁeld Hills MI 48304         08-04-22 to 04-01-23    $   36,758.56
                                    25550 Seeley Road
                                    Suite 200
Fire Alarm Services                 Novi MI 48375                                1/1/2023 $       1,250.80
                                    450 Skokie Blvd Suite 1000
First Insurance Funding             Northbrook IL 60062-7917         04-10-23 to 04-11-23    $   10,560.00
                                    13551 Collec ons CTR DR
Fisher Healthcare                   Chicago IL 60693                 10-01-22 to 04-12-23    $   76,317.90
                                    800 Tower Drive
                                    Suite 610
Fishman Stewart, PLLC               Troy MI 48098                    04-01-22 to 06-01-22    $    6,534.70
                                    PO BOX 78470
Foley & Lardner LLP                 Milwaukee WI 53278-8470          06-29-22 to 10-01-22    $    9,615.50
                                    36 Cordage Park
                                    Suite 302
FrontRunnerHC Inc                   Plymouth MA 02360                02-01-23 to 04-01-23    $   24,923.73
                                    7901 4th St N.
                                    Suite 300
Gazam, Inc.                         St Petersburg FL 33702           07-19-22 to 08-01-22    $    7,380.00
                                    55166 Timberland Lane
Gena's Timeless Cleaning, LLC       Macomb MI 48042                  01-15-23 to 04-01-23    $   36,000.00
                                    11771 W. 112th St.
George King Bio-Medical, Inc.       Overland Park KS 66210                       6/1/2022 $       1,603.70
                                    3055 Cass Rd Ste 123
Great Lakes Express Delivery, LLC   Traverse City MI 49684           02-01-23 to 04-17-23    $   55,893.23
                                    2101 NW Corporate Blvd
                                    Suite 400
Healthcare Appraisers               Boca Raton FL 33431                          7/1/2022 $       4,307.50
                                    Lockbox Services - 75890
                                    PO BOX 715890
Hogan Lovells US LLP                Philadelphia PA 19171-5890       12-15-22 to 04-01-23    $ 140,801.95



                          23-43403-mlo   Doc 55     Filed 04/26/23   Entered 04/26/23 23:47:16        Page 11 of 18
                                       Schedule F
Name                                   Address                                Date(s) debt incurred   Total Claim
                                       29919 Jeﬀerson Ave.
I Care MI, LLC                         St. Clair Shores MI 48082              04-08-22 to 04-01-23    $    2,978.00
                                       110 Centrum Drive
IMCS, Inc.                             Irmo SC 29063                          02-22-23 to 04-01-23    $    7,417.00
                                       PO BOX 4577
Insync Healthcare Solu ons             Carol Stream IL 60197-4577                       10/19/2022    $    3,500.00
                                       22 Friars Drive
INTEGRA Biosciences Corp.              Hudson NH 03051                        01-12-23 to 03-06-23    $    5,678.96
                                       10290 Alliance Road
iPa entCare, LLC                       Cincinna OH 45242                                12/15/2022    $    5,000.00
                                       2034 Pleasant View Ave
James Pinckney                         Lansing MI 48910-0348                             3/21/2023    $       10.88
                                       3873 Hartland Hills Dr
Jeﬀrey Williamson                      Hartland MI 48353-1111                            1/12/2023    $      461.43
                                       2836 Baltane Rd.
JSW Consul ng, LLC                     West Bloomﬁeld MI 48323                             4/7/2022   $    7,500.00
                                       105 4th Street E
LabPath Consul ng                      Tierra Verde FL 33715                  06-01-22 to 03-01-23    $   52,000.00
                                       PO Box 21042
LabSo , Inc.                           Tampa FL 33622                         03-01-23 to 04-01-23    $      190.00
                                       7381 Grachen Dr. SE
Labtek, Incorporated                   Grand Rapids MI 49546                  03-02-23 to 04-11-23    $   13,931.63
                                       Delta Containers Division
                                       6616 Solu on Center
Landaal Packaging Systems              Chicago IL 60677-6006                             3/27/2023    $    1,490.27
                                       220 N. River Street
Leasing Associates of Barrington, INC. East Dundee IL 60118                   02-01-23 to 04-01-23    $    4,812.40
                                       Dept CH 16362
LGC Clinical Diagnos cs, Inc.          Pala ne IL 60055-6362                               2/1/2023   $    3,270.76
Liam Dillon                            28393 Wellington St. Farmington Hills M10-01-22 to 04-12-23    $   48,467.38
                                       12088 Collec ons Center Dr.
Life Technologies Corpora on           Chicage IL 60693                       05-24-22 to 03-13-23    $   70,483.19




                         23-43403-mlo       Doc 55     Filed 04/26/23      Entered 04/26/23 23:47:16           Page 12 of 18
                                    Schedule F
Name                                Address                              Date(s) debt incurred   Total Claim
                                    65 Harristown Rd
                                    Suite 305
Lifepoint Informa cs                Glen Rock NJ 07452                   01-01-23 to 04-01-23    $    7,025.00
                                    370 E. Maple Road
                                    Third Floor
Lippi O'Keefe, PLLC                 Birmingham MI 48009                  01-01-23 to 02-01-23    $   13,946.64
                                    4414 Blackberry Knoll Dr.`
Lisa Slagle                         Loves Park IL 61111-4309                        3/21/2023    $       12.95
                                    801 Peach Tree Ln.
Li le Sonia Real Estate LLC         Rochester Hills MI 48306             03-01-23 to 04-01-23    $    3,397.50
                                    885 Woodstock Rd
                                    Suite 430/PMB 360
Lotus Lab Consul ng                 Roswell GA 30075                                  4/7/2022   $    5,000.00
                                    175 N. Michigan Ave
Lynne Dalius                        Coldwater MI 49036-1583                           4/4/2023   $      129.25
                                    1081 S. State Rd
MAC Pizza, LLC                      Davison MI 48423                     03-01-23 to 04-01-23    $    2,620.00
Mark Beauchamp                      6686 Weston Ct., Clarkston, MI 48348            3/14/2023    $   16,666.67
                                    D.B.A. May Clinic Laboratories
                                    P.O. Box 9146
Mayo Collabora ve Services          Minneapolis MN 55480-9146            04-01-22 to 08-01-22    $   76,016.16
                                    12 Port Access Rd
McShane Welding, Inc.               Erie PA 16507                                   12/1/2022    $    2,635.45
                                    901 Wilshire Drive
                                    Ste 255
mCubed Staﬃng, LLC                  Troy MI 48084                                     6/1/2022   $   10,300.00
                                    28287 Beck Rd.
                                    Unit D-14
MCW Partners, LLC                   Wixom MI 48393                       07-01-22 to 03-31-23    $      445.20
                                    2262 South 1200 West
                                    Suite 101
Med Water Systems                   Woods Cross UT 84087                 01-12-23 to 04-16-23    $      774.72
                                    Box 382075
Medline Industries, Inc.            Pi sburgh PA 15251-8075              08-01-22 to 10-01-22    $ 117,303.10


                           23-43403-mlo   Doc 55    Filed 04/26/23     Entered 04/26/23 23:47:16          Page 13 of 18
                                      Schedule F
Name                                  Address                              Date(s) debt incurred Total Claim
                                      3000 Town Center
                                      Suite 75
MedMatch                              Southﬁeld MI 48075                   04-08-22 to 07-01-22 $ 29,400.00
                                      PO Box 850001
Mercedes Scien ﬁc                     Orlando FL 32885-0123                07-26-22 to 04-16-23 $ 17,141.86
                                      27006 Network Place
Me ler-Toledo Rainin, LLC             Chicago IL 60673-1270                11-10-22 to 03-01-23 $      4,178.50
                                      110 W. Michigan Ave
                                      Suite 500
Michigan Legisla ve Consultants, Inc. Lansing MI 48933                     04-01-22 to 09-01-22 $ 30,000.00
                                      200 Cooper Avenue North
Microbiologics                        St. Cloud MN 56303                   06-07-22 to 10-01-22 $        914.84
                                      265 Watline Ave
                                      Mississauga ON L4Z 1P3
Microbix Biosystems Inc.              CA                                              11/2/2022 $        322.00
                                      Bank of America
                                      7055 Collec ons Center Dr.
Microgenics Corpora on                Chicago IL 60693                     08-15-22 to 03-01-23 $ 50,226.20
Microso                               920 Fourth Ave. Suite 2900 Sea le, WA             4/9/2023 $     3,563.78
                                      7704 Collec on Center Drive
Molecular BioProducts, Inc.           Chicago IL 92121                     05-01-22 to 09-01-22 $        439.18
                                      Payment Processing Center
                                      P.O. Box 2147
Mutual of Omaha                       Omaha NE 68103-2147                  02-01-23 to 05-01-23 $ 28,883.17
                                      P.O. Box 969
Netaly cs                             Greer SC 29652                       10-26-22 to 04-01-23 $      4,500.00
                                      10071 Burnside Court
Newbsknob, LLC                        Grand Blanc MI 48439                 03-01-2023 to 04-01-23 $    5,750.00
                                      400 Pinnacle Way #450
Omega Bio-Tek                         Norcross GA 30071                    10-03-22 to 10-19-22 $      1,599.61
                                      3430 Vineyard Hill Dr.
OMG & The A Team Consul ng, LLC Rochester Hills MI 48306                              3/17/2023 $        500.00




                        23-43403-mlo       Doc 55     Filed 04/26/23     Entered 04/26/23 23:47:16        Page 14 of 18
                                    Schedule F
Name                                Address                               Date(s) debt incurred   Total Claim
                                    701 Congressional Blvd.
                                    Suite 360
Orchard So ware Corpora on          Carmel IN 46032                       12-01-22 to 04-01-23    $ 100,689.20
                                    1345 Maricopa Drive
PACCAIR                             Oshkosh WI 54904                      08-01-22 to 09-05-22    $         -
                                    24660 Dequindre Road
Palmer Moving Services              Warren MI 48091                                  6/18/2022    $    6,816.00
Paylocity                           1400 American Ln, Schaumburg, IL 601             4/20/2023    $    3,115.95
                                    2225 Centennial Drive
Peachstate Health Management        Gainesville GA 30504                  04-05-22 to 12-01-22    $   17,000.00
Peninsula Capital Partners, LLC     1 Towne Square #1400, Southﬁeld MI 4             12/2/2022    $    5,117.38
                                    1300 East 9th Street
                                    Suite 910
Perspectus Architecture             Cleveland OH 44114                               4/13/2022    $    2,714.69
                                    PO Box 749397
Phenomenex, Inc                     Los Angeles CA 90074                  07-12-22 to 04-01-23    $   22,329.13
                                    47943 Van Dyke Ave.
Polar Ice                           Shelby Twp. MI 48317                  11-29-22 to 04-18-23    $    7,140.00
                                    24630 Network Place
Prac ce Fusion                      Chicago IL 60673-1246                 08-23-22 to 04-01-23    $    5,764.00
                                    13885 Alton Pkwy
                                    Suite B
Predic ve Health Diagnos cs, Inc.   Irvine CA 92618                                    2/1/2023   $    3,900.00
Raves Cooler Doors                  1704 E. Highland Rd. Highland MI 4835            9/12/2022    $      319.63
                                    863 N. Pine, Suite A
Recovery Pathways                   Essexville MI 48732                   03-01-23 to 04-01-23    $    1,774.90
                                    21450 Trolley Industrial
Reliable Delivery                   Taylor MI 48180                                    6/1/2022   $    6,053.49
                                    PO Box 4276
Restek Corpora on                   Lancaster PA 17604                               10/1/2022    $    1,810.65
                                    26770 Grand River Avenue
Rusas Prin ng, Inc.                 Redford MI 48240                      01-24-23 to 02-10-23    $      159.00




                          23-43403-mlo   Doc 55      Filed 04/26/23     Entered 04/26/23 23:47:16          Page 15 of 18
                                   Schedule F
Name                               Address                             Date(s) debt incurred   Total Claim
                                   3595 Walker Road
                                   Windsor ON N8W 3S5
SAI Graphics                       Canada                              04-01-22 to 06-01-22    $   34,662.84
                                   10019 Fair Oaks Drive
SAR Consul ng Services, LLC        Goodrich MI 48438                   03-01-23 to 04-01-23    $   10,000.00
                                   25876 Barbara St.
Sarah Markie                       Roseville MI 48066-3868                        3/27/2023    $       16.80
                                   30610 Ecorse Rd
Sci Floor Covering, Inc.           Romulus MI 48174                                 7/1/2022   $    6,470.00
                                   2000 Town Center
                                   Suite 1500
Seyburn Kahn A orneys & Counselors Southﬁeld MI 48075-1148             04-06-22 to 07-08-22    $   12,862.50
                                   29330 US Highway 12
Shelly Donovan                     Sturgis MI 49091-9598                          3/14/2023    $       20.00
                                   221 Gregson Dr
Siemens Healthcare Diagnos cs      Cary NC 27511                       06-03-22 to 04-03-23    $   13,090.44
                                   PO BOX 535182
Sigma-Aldrich Inc.                 Atlanta GA 30353-5182               08-01-22 to 01-12-23    $    4,412.19
                                   One North Wacker Drive
                                   #3925
Silverman Consul ng Inc.           Chicago IL 60606                    02-24-23 to 03-24-23    $   56,000.00
                                   110 Dewey Drive
Solaris Diagnos cs                 Nicholasville KY 40356              01-01-23 to 04-10-23    $      960.00
                                   PO BOX 660409
Staples                            Dallas TX 75266-0409                06-01-22 to 01-18-23    $   10,715.87
State of Arkansas                  PO BOX 9941 Li le Rock, AR 72203-994           12/9/2022    $      727.39
                                   PO Box 6575
Stericycle Inc                     Carol Stream IL 60197-6575          11-01-22 to 04-01-23    $      709.36
                                   294 Princess Drive
Succurro's Pain ng, Inc.           Canton MI 48188                                5/24/2022    $    5,372.00
                                   42020 Koppernick Rd #208
Superior Medical Waste Disposal    Canton MI 48187                     02-28-23 to 04-01-23    $    4,667.00
                                   3409 Virginia Dr.
Suzanne Diller                     Columbiaville MI 48421-9367                    3/21/2023    $       14.82

                       23-43403-mlo      Doc 55    Filed 04/26/23     Entered 04/26/23 23:47:16         Page 16 of 18
                                   Schedule F
Name                               Address                          Date(s) debt incurred   Total Claim
                                   28241 Network Pl.
Sysmex America, Inc.               Chicago IL 60673-1282            09-01-22 to 04-12-23    $   24,171.79
                                   28040 Joy Road
Taylor Door and Window             Livonia MI 48150                 04-041-22 to 01-10-23 $        652.50
                                   12 S Cleveland Ave.
Tek-Pe e                           Westerville OH 43081                        3/16/2023 $       2,031.00
                                   1800 Brinston
The Alan Group, Inc.               Troy MI 48083                               4/11/2022 $       2,816.00
                                   8000 Virginia Manor Road
                                   Suite 170
Theranos x Inc.                    Beltsville MD 20705                          1/1/2023 $      23,914.00
                                   P.O. Box 536750
Thomas Scien ﬁc                    Pi sburgh PA 15253-5909          05-09-22 to 06-20-22    $      275.98
                                   7683 SE 27th Street
                                   Suite # 352
Transla onal So ware, Inc.         Mercer Island WA 98040           02-01-23 to 04-01-23    $   27,381.00
                                   355 N. Center Road
Tri-City Treatment                 Saginaw MI 48368                 03-01-23 to 04-01-23    $      617.16
                                   5119 Highland Rd Suite 265
Tricon Services LLC                Waterford MI 48327                          2/20/2023 $       3,135.00
                                   PO BOX 530188
Tryco Inc.                         Livonia MI 48153                            10/1/2022 $         421.08
                                   PO BOX 72243
UHY, LLP                           Cleveland OH 44192-0002                     2/21/2023 $       2,690.00
                                   Accounts Receivable
                                   PO Box 88741
Uline                              Chicago IL 60680-1741            03-06-22 to 06-01-22    $    2,915.32
                                   2116 Hampden Dr
United Courier Service, Inc.       Lansing MI 48911                             8/1/2022 $       1,204.00
                                   1390 Neubrecht Road
United States Plas c Corpora on    Lima OH 45801                                6/1/2022 $          95.64
                                   P.O. Box 809488
UPS                                Chicago IL 60680-9488            01-14-23 to 04-15-23    $    6,103.48



                          23-43403-mlo   Doc 55    Filed 04/26/23   Entered 04/26/23 23:47:16        Page 17 of 18
                                      Schedule F
Name                                  Address                            Date(s) debt incurred   Total Claim
                                      Accounts Receivable
                                      PO BOX 13387
USA Scien ﬁc                          Newark NJ 07101-3387               05-19-22 to 03-01-23    $   17,693.07
                                      P.O. Box 640169
VWR Interna onal, LLC                 PI sburgh PA 15264-0169            05-04-22 to 07-01-22    $   22,631.31
                                      5200 Civic Center Drive
Waterford Township Treasurer          Waterford MI 48329                 07-01-22 to 12-01-22    $   67,192.82
WebConnec on (CC)                     1570 Woodward Ave, Detroit MI 48226             8/1/2022   $    2,500.00
                                      PO BOX 77096
Wells Fargo Financial Leasing, Inc.   Minneapolis MN 55480-7796          10-14-22 to 04-11-23    $    9,213.88
                                      23560 Haggerty Rd
Wintegrity                            Farmington Hills MI 48335                     12/3/2022    $    3,000.00
                                      5728 Schaefer Rd
                                      Suite 200
Younis Enterprises                    Dearborn MI 48126                  03-01-23 to 04-01-23    $ 10,003.90
                                                                                                 $ 2,615,934.58




                          23-43403-mlo     Doc 55     Filed 04/26/23    Entered 04/26/23 23:47:16         Page 18 of 18
